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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               WW Co-Obligor Inc.


                                                 WeWork CO Inc.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              8         4   –      2     0     4      5       4      8     8
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       12 East 49th Street
                                       Number               Street                                    Number         Street

                                       3rd Floor
                                                                                                      P.O. Box
                                       New York, NY 10017
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       New York County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.WeWork.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            WW Co-Obligor Inc.                                                  Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5311 (Lessors of Real Estate)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




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          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of New Jersey
   List all cases. If more than 1,                                                                                  When            11/06/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                  Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                      ☐     200-999




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          Name



15. Estimated assets (on a             ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)                ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                       ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                       ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on          ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)              ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐ $1,000,000,001-$10 billion
                                       ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒ $10,000,000,001-$50 billion
                                       ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of           petition.
    debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                           correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on         11/06/2023
                                                                MM/ DD / YYYY


                                                /s/ Pam Swidler                                                    Pam Swidler
                                                Signature of authorized representative of debtor                Printed name

                                                Title    Authorized Signatory




18. Signature of attorney                       /s/ Michael D. Sirota                                          Date        11/06/2023
                                                Signature of attorney for debtor                                           MM/DD/YYYY



                                                Michael D. Sirota
                                                Printed name
                                                Cole Schotz P.C.
                                                Firm name
                                                Court Plaza North, 25 Main Street
                                                Number                 Street
                                                                                                                          New
                                                Hackensack                                                               Jersey          07601
                                                City                                                                   State               ZIP Code

                                                (201) 489-3000                                                         msirota@coleschotz.com
                                                Contact phone                                                              Email address
                                                014321986                                           New Jersey
                                                Bar number                                          State




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                                                                                  ,
     United States Bankruptcy Court for the:
                               District of New Jersey
                                           (State)                                                                 ☐ Check if this is an
     Case number (if known):                              Chapter     11                                               amended filing


                                                       Rider 1
                        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
    States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States
    Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
    chapter 11 case of [WeWork Inc.]

•   WeWork Inc.                                       •   1100 Ludlow Street Tenant LLC           •   1330 Lagoon Avenue Tenant LLC
                                                                                                  •   1333 New Hampshire Avenue Northwest
•   1 Beacon Street Tenant LLC                        •   1100 Main Street Tenant LLC
                                                                                                      Tenant LLC
•   1 Belvedere Drive Tenant LLC                      •   1111 Broadway Tenant LLC                •   135 E 57th Street Tenant LLC
•   1 Glenwood Ave Tenant LLC                         •   1111 West 6th Street Tenant LLC         •   135 Madison Ave Tenant LLC
•   1 Lincoln Street Tenant LLC                       •   1114 W Fulton Market Q LLC              •   1372 Peachtree Street NE Tenant LLC
                                                                                                  •   1389 Peachtree Street Northwest Tenant
•   1 Milk Street Tenant LLC                          •   1115 Broadway Q LLC
                                                                                                      LLC
•   1 Post Street Tenant LLC                          •   1115 Howell Mill Road Tenant LLC        •   1400 Lavaca Street Tenant LLC
•   1 South Dearborn Street Tenant LLC                •   1115 W Fulton Market Q LLC              •   1410 Broadway Tenant LLC
•   1 Union Square West HQ LLC                        •   115 Broadway Tenant LLC                 •   1411 4th Avenue Tenant LLC
•   10 East 38th Street Tenant LLC                    •   115 East 23rd Street Tenant LLC         •   142 W 57th Street Tenant LLC
•   10 East 40th Street HQ LLC                        •   1150 South Olive Street Tenant LLC      •   1430 Walnut Street Tenant LLC
•   100 Bayview Circle Tenant LLC                     •   1155 Perimeter Center West Tenant LLC   •   1440 Broadway Tenant LLC
•   100 Broadway Tenant LLC                           •   1155 West Fulton Street Tenant LLC      •   1448 NW Market Street Tenant LLC
•   100 S State Street Tenant LLC                     •   1156 6th Avenue Tenant LLC              •   1449 Woodward Avenue Tenant LLC
•   100 Summer Street Tenant LLC                      •   117 NE 1st Ave Tenant LLC               •   145 W 45th Street Tenant LLC
•   10000 Washington Boulevard Tenant LLC             •   1175 Peachtree Tenant LLC               •   1450 Broadway Tenant LLC
•   1001 Woodward Ave Tenant LLC                      •   11801 Domain Blvd Tenant LLC            •   1453 3rd Street Promenade Q LLC
•   1003 East 4th Place Tenant LLC                    •   12 East 49th Street Tenant LLC          •   1455 Market Street Tenant LLC
•   101 East Washington Street Tenant LLC             •   12 South 1st Street Tenant LLC          •   1460 Broadway Tenant LLC
•   101 Marietta Street NorthWest Tenant LLC          •   120 West Trinity Place Tenant LLC       •   148 Lafayette Street Tenant LLC
•   101 North 1st Avenue Tenant LLC                   •   1200 17th Street Tenant LLC             •   149 5th Avenue Tenant LLC
•   10250 Constellation Tenant LLC                    •   1200 Franklin Avenue Tenant LLC         •   149 Madison Avenue Tenant LLC
•   1031 South Broadway Tenant LLC                    •   1201 3rd Avenue Tenant LLC              •   15 West 27th Street Tenant LLC
•   10585 Santa Monica Boulevard Tenant LLC           •   1201 Wills Street Tenant LLC            •   150 4th Ave N Tenant LLC
•   10845 Griffith Peak Drive Tenant LLC              •   1201 Wilson Blvd Tenant LLC             •   152 3rd Street Tenant LLC
•   10885 NE 4th Street Tenant LLC                    •   12130 Millennium Drive Tenant LLC       •   1525 11th Ave Tenant LLC
•   109 S 5th Street Tenant LLC                       •   1240 Rosecrans Tenant LLC               •   1535 Broadway Tenant LLC
•   1090 West Pender Street Tenant LP                 •   125 S Clark Street Tenant LLC           •   154 W 14th Street Tenant LLC
•   10900 Stonelake Boulevard Tenant LLC              •   125 West 25th Street Tenant LLC         •   1547 9th Street HQ LLC
•   1099 Stewart Street Tenant LLC                    •   12655 Jefferson Blvd Tenant LLC         •   1557 West Innovation Way Tenant LLC
•   11 Park Pl Tenant LLC                             •   128 South Tryon Street Tenant LLC       •   1560 Broadway Tenant LLC
•   110 110th Avenue Northeast Tenant LLC             •   130 5th Avenue Tenant LLC               •   16 East 34th Street Tenant LLC
•   110 Corcoran Street Tenant LLC                    •   130 Madison Avenue Tenant LLC           •   160 Varick Street Tenant LLC
•   110 Wall Manager LLC                              •   130 W 42nd Street Tenant LLC            •   160 W Santa Clara St Tenant LLC
•   1100 15th Street NW Tenant LLC                    •   1305 2nd Street Q LLC                   •   1600 7th Avenue Tenant LLC
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•   1601 Elm Street Tenant LLC                  •   21 Penn Plaza Tenant LLC              •   3101 Park Boulevard Tenant LLC
•   1601 Market Street Tenant LLC               •   210 N Green Partners LLC              •   311 W 43rd Street Tenant LLC
                                                                                          •   3120 139th Avenue Southeast Tenant
•   1601 Vine Street Tenant LLC                 •   210 N Green Promoter LLC
                                                                                              LLC
•   161 Avenue of the Americas Tenant LLC       •   2120 Berkeley Way Tenant LLC          •   315 East Houston Tenant LLC
•   1615 Platte Street Tenant LLC               •   21255 Burbank Boulevard Tenant LLC    •   315 W 36th Street Tenant LLC
•   1619 Broadway Tenant LLC                    •   214 West 29th Street Tenant LLC       •   316 West 12th Street Tenant LLC
•   166 Geary Street HQ LLC                     •   22 Cortlandt Street HQ LLC            •   3200 Park Center Drive Tenant LLC
•   1660 Lincoln Street Tenant LLC              •   2201 Broadway Tenant LLC              •   3219 Knox Street Tenant LLC
•   167 N Green Street Tenant LLC               •   221 6th Street Tenant LLC             •   3280 Peachtree Road NE Tenant LLC
•   1700 Lincoln Street Tenant LLC              •   2211 Michelson Drive Tenant LLC       •   33 Arch Street Tenant LLC
•   1701 Rhode Island Avenue Northwest
                                                •   222 Kearny Street Tenant LLC          •   33 East 33rd Street Tenant LLC
    Tenant LLC
•   1725 Hughes Landing Boulevard Tenant
                                                •   222 North Sepulveda Tenant LLC        •   33 Irving Tenant LLC
    LLC
•   1730 Minor Avenue Tenant LLC                •   222 S Riverside Plaza Tenant LLC      •   330 North Wabash Tenant LLC
•   17300 Laguna Canyon Road Tenant LLC         •   2221 Park Place Tenant LLC            •   3300 N. Interstate 35 Tenant LLC
•   177 E Colorado Blvd Tenant LLC              •   2222 Ponce De Leon Blvd Tenant LLC    •   332 S Michigan Tenant LLC
•   1775 Tysons Boulevard Tenant LLC            •   225 South 6th St Tenant LLC           •   333 West San Carlos Tenant LLC
•   18 West 18th Street Tenant LLC              •   225 W 39th Street Tenant LLC          •   3365 Piedmont Road Tenant LLC
•   180 Geary Street HQ LLC                     •   229 West 36th Street Tenant LLC       •   340 Bryant Street HQ LLC
•   180 Sansome Street Tenant LLC               •   231 11th Ave Tenant LLC               •   345 4th Street Tenant LLC
•   1814 Franklin St Q LLC                      •   2323 Delgany Street Tenant LLC        •   345 West 100 South Tenant LLC
•   18191 Von Karman Avenue Tenant LLC          •   24 Farnsworth Street Q LLC            •   35 East 21st Street HQ LLC
•   1825 South Grant Street Tenant LLC          •   2-4 Herald Square Tenant LLC          •   353 Sacramento Street Tenant LLC
•   1828 Walnut St Tenant LLC                   •   2401 Elliott Avenue Tenant LLC        •   35-37 36th Street Tenant LLC
•   183 Madison Avenue Q LLC                    •   2420 17th Street Tenant LLC           •   360 NW 27th Street Tenant LLC
•   1840 Gateway Dr Tenant LLC                  •   2425 East Camelback Road Tenant LLC   •   3600 Brighton Boulevard Tenant LLC
•   185 Madison Avenue Tenant LLC               •   245 Livingston St Q LLC               •   38 West 21st Street Tenant LLC
•   18691 Jamboree Road Tenant LLC              •   25 West 45th Street HQ LLC            •   385 5th Avenue Q LLC
•   1875 K Street NW Tenant LLC                 •   250 E 200 S Tenant LLC                •   3900 W Alameda Ave Tenant LLC
•   1881 Broadway HQ LLC                        •   250 Park Avenue Tenant LLC            •   391 San Antonio Road Tenant LLC
•   1900 Market Street Tenant LLC               •   255 Giralda Avenue Tenant LLC         •   40 Water Street Tenant LLC
•   1900 Powell Street Tenant LLC               •   255 Greenwich Street Tenant LLC       •   400 California Street Tenant LLC
•   1910 North Ola Avenue Tenant LLC            •   255 S King St Tenant LLC              •   400 Capitol Mall Tenant LLC
•   1920 McKinney Ave Tenant LLC                •   2600 Executive Parkway Tenant LLC     •   400 Concar Drive Tenant LLC
•   195 Montague Street Tenant LLC              •   2700 Post Oak Blvd. Tenant LLC        •   400 Lincoln Square Tenant LLC
•   199 Water Street Tenant LLC                 •   27-01 Queens Plaza North Tenant LLC   •   400 Spectrum Center Drive Tenant LLC
•   2 Belvedere Drive Tenant LLC                •   2755 Canyon Blvd WW Tenant LLC        •   4005 Miranda Ave Tenant LLC
•   2 Embarcadero Center Tenant LLC             •   28 2nd Street Tenant LLC              •   401 San Antonio Road Tenant LLC
•   2 North LaSalle Street Tenant LLC           •   28 West 44th Street HQ LLC            •   404 Fifth Avenue Tenant LLC
•   20 W Kinzie Tenant LLC                      •   29 West 30th Street Tenant LLC        •   4041 Macarthur Boulevard Tenant LLC
•   200 Berkeley Street Tenant LLC              •   30 Hudson Street Tenant LLC           •   405 Mateo Street Tenant LLC
•   200 Massachusetts Ave NW Tenant LLC         •   30 Wall Street Tenant LLC             •   408 Broadway Tenant LLC
•   200 Portland Tenant LLC                     •   300 Morris Street Tenant LLC          •   410 North Scottsdale Road Tenant LLC
•   200 South Biscayne Blvd Tenant LLC          •   300 Park Avenue Tenant LLC            •   414 West 14th Street HQ LLC
•   200 South Orange Avenue Tenant LLC          •   3000 Olym Boulevard Tenant LLC        •   415 Mission Street Tenant LLC
•   200 Spectrum Center Drive Tenant LLC        •   3000 S Robertson Blvd Q LLC           •   419 Park Avenue South Tenant LLC
•   201 Spear St Tenant LLC                     •   3001 Bishop Drive Tenant LLC          •   420 5th Avenue Q LLC
•   2031 3rd Ave Tenant LLC                     •   3003 Woodbridge Ave Tenant LLC        •   420 Commerce Street Tenant LLC
•   205 Hudson Street Tenant LLC                •   3090 Olive Street Tenant LLC          •   424-438 Fifth Avenue Tenant LLC
•   205 North Detroit Street Tenant LLC         •   31 St James Ave Tenant LLC            •   428 Broadway Tenant LLC




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•   429 Lenox Ave Tenant LLC                   •   6 East 32nd Street WW Q LLC             •   77 Sands WW Corporate Tenant LLC
•   430 Park Avenue Tenant LLC                 •   600 B Street Tenant LLC                 •   77 Sleeper Street Tenant LLC
•   4311 11th Avenue Northeast Tenant LLC      •   600 California Street Tenant LLC        •   7761 Greenhouse Rd Tenant LLC
•   433 Hamilton Avenue Tenant LLC             •   600 H Apollo Tenant LLC                 •   777 6th Street NW Tenant LLC
•   437 5th Avenue Q LLC                       •   6001 Cass Avenue Tenant LLC             •   78 SW 7th Street Tenant LLC
•   437 Madison Avenue Tenant LLC              •   601 South Figueroa Street Tenant LLC    •   8 W 40th Street Tenant LLC
•   44 East 30th Street HQ LLC                 •   606 Broadway Tenant LLC                 •   80 M Street SE Tenant LLC
•   44 Montgomery Street Tenant LLC            •   609 5th Avenue Tenant LLC               •   800 Bellevue Way Tenant LLC
•   44 Wall Street HQ LLC                      •   609 Greenwich Street Tenant LLC         •   800 Market Street Tenant LLC
•   448 North LaSalle Street Tenant LLC        •   609 Main Street Tenant LLC              •   800 North High Street Tenant LLC
•   45 West 18th Street Tenant LLC             •   611 North Brand Boulevard Tenant LLC    •   801 B. Springs Road Tenant LLC
•   450 Lexington Tenant LLC                   •   615 S. Tenant LLC                       •   808 Wilshire Boulevard Tenant LLC
•   460 Park Ave South Tenant LLC              •   625 Massachusetts Tenant LLC            •   820 18th Ave South Tenant LLC
•   460 West 50 North Tenant LLC               •   625 West Adams Street Tenant LLC        •   821 17th Street Tenant LLC
•   4635 Lougheed Highway Tenant LP            •   63 Madison Avenue Tenant LLC            •   83 Maiden Lane Q LLC
•   475 Sansome St Tenant LLC                  •   65 East State Street Tenant LLC         •   830 Brickell Plaza Tenant LLC
•   483 Broadway Tenant LLC                    •   650 California Street Tenant LLC        •   830 NE Holladay Street Tenant LLC
                                               •   6543 South Las Vegas Boulevard Tenant
•   49 West 27th Street HQ LLC                                                             •   8305 Sunset Boulevard HQ LLC
                                                   LLC
•   490 Broadway Tenant LLC                    •   655 15th Street NW Tenant LLC           •   8687 Melrose Avenue Tenant LLC
•   50 W 28th Street Tenant LLC                •   655 Montgomery St Tenant LLC            •   8687 Melrose Green Tenant LLC
                                               •   655 New York Avenue Northwest Tenant
•   500 11th Ave North Tenant LLC                                                          •   88 U Place Tenant LLC
                                                   LLC
•   500 7th Avenue Tenant LLC                  •   660 J Street Tenant LLC                 •   880 3rd Ave Tenant LLC
                                                                                           •   881 Peachtree Street Northeast Tenant
•   501 Boylston Street Tenant LLC             •   660 North Capitol St NW Tenant LLC
                                                                                               LLC
•   501 East Kennedy Boulevard Tenant LLC      •   6655 Town Square Tenant LLC             •   8910 University Center Lane Tenant LLC
•   501 East Las Olas Blvd Tenant LLC          •   67 Irving Place Tenant LLC              •   90 South 400 West Tenant LLC
•   501 Eastlake Tenant LLC                    •   6900 North Dallas Parkway Tenant LLC    •   901 North Glebe Road Tenant LLC
•   5049 Edwards Ranch Tenant LLC              •   695 Town Center Drive Tenant LLC        •   901 Woodland St Tenant LLC
•   505 Main Street Tenant LLC                 •   7 West 18th Street Tenant LLC           •   902 Broadway Tenant LLC
•   505 Park Avenue Q LLC                      •   700 2 Street Southwest Tenant LP        •   920 5th Ave Tenant LLC
•   50-60 Francisco Street Tenant LLC          •   700 K Street NW Tenant LLC              •   920 SW 6th Avenue Tenant LLC
•   511 W 25th Street Tenant LLC               •   700 North Miami Tenant LLC              •   9200 Timpanogos Highway Tenant LLC
•   515 Folsom Street Tenant LLC               •   700 SW 5th Tenant LLC                   •   925 4th Avenue Tenant LLC
•   515 N State Street Tenant LLC              •   708 Main St Tenant LLC                  •   925 N La Brea Ave Tenant LLC
•   5161 Lankershim Boulevard Tenant LLC       •   71 5th Avenue Tenant LLC                •   9670416 CANADA Inc.
•   5215 North O’Connor Boulevard Tenant LLC   •   71 Stevenson Street Q LLC               •   9777 Wilshire Boulevard Q LLC
•   524 Broadway Tenant LLC                    •   711 Atlantic Avenue Tenant LLC          •   980 6th Avenue Tenant LLC
•   525 Broadway Tenant LLC                    •   725 Ponce De Leon Ave NE Tenant LLC     •   9830 Wilshire Boulevard Tenant LLC
•   53 Beach Street Tenant LLC                 •   7272 Wisconsin Avenue Tenant LLC        •   99 Chauncy Street Q LLC
•   540 Broadway Q LLC                         •   729 Washington Ave Tenant LLC           •   99 High Street Tenant LLC
•   545 Boylston Street Q LLC                  •   7300 Dallas Parkway Tenant LLC          •   Bird Investco LLC
•   546 5th Avenue Tenant LLC                  •   731 Sansome Street Tenant LLC           •   CD Locations, LLC
•   550 7th Avenue HQ LLC                      •   75 Arlington Street Tenant LLC          •   Cities by We LLC
•   550 Kearny Street HQ LLC                   •   75 E Santa Clara Street Tenant LLC      •   Clubhouse TS LLC
•   57 E 11th Street Tenant LLC                •   75 Rock Plz Tenant LLC                  •   Common Coffee LLC
•   575 5th Avenue Tenant LLC                  •   750 Lexington Avenue Tenant LLC         •   Common Desk Daymaker LLC
•   575 Lexington Avenue Tenant LLC            •   750 White Plains Road Tenant LLC        •   Common Desk DE, LLC
•   5750 Wilshire Boulevard Tenant LLC         •   755 Sansome Street Tenant LLC           •   Common Desk Holdings LLC
•   5960 Berkshire Lane Tenant LLC             •   756 W Peachtree Tenant LLC              •   Common Desk OC, LLC
•   599 Broadway Tenant LLC                    •   77 Sands Tenant LLC                     •   Common Desk Operations LLC




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•   Common Desk West 7th, LLC                   •   WeWork Canada LP ULC           •   WW 401 Park Avenue South LLC
•   Creator Fund Managing Member LLC            •   WeWork Commons LLC             •   WW 5 W 125th Street LLC
•   Euclid LLC                                  •   WeWork Companies U.S. LLC      •   WW 500 Yale LLC
•   Euclid WW Holdings Inc.                     •   WeWork Companies Partner LLC   •   WW 51 Melcher LLC
•   FieldLens LLC                               •   WeWork Construction LLC        •   WW 520 Broadway LLC
•   Five Hundred Fifth Avenue HQ LLC            •   WeWork Holdings LLC            •   WW 535 Mission LLC
•   Insurance Services by WeWork LLC            •   WeWork Interco LLC             •   WW 555 West 5th Street LLC
•   Legacy Tenant LLC                           •   WeWork LA LLC                  •   WW 5782 Jefferson LLC
•   Mailroom Bar at 110 Wall LLC                •   WeWork Labs Entity LLC         •   WW 600 Congress LLC
•   MissionU PBC                                •   WeWork Little West 12th LLC    •   WW 641 S Street LLC
•   One Gotham Center Tenant LLC                •   WeWork Magazine LLC            •   WW 718 7th Street LLC
•   One Metropolitan Square Tenant LLC          •   WeWork Real Estate LLC         •   WW 745 Atlantic LLC
•   Parkmerced Partner LLC                      •   WeWork Services LLC            •   WW 79 Madison LLC
•   Play by WeWork LLC                          •   WeWork Space Services Inc.     •   WW 81 Prospect LLC
•   Powered By We LLC                           •   WeWork Space Services LLC      •   WW 811 West 7th Street LLC
•   Project Caesar LLC                          •   WeWork Wellness LLC            •   WW 85 Broad LLC
•   Project Standby I LLC                       •   WeWork Workplace LLC           •   WW 995 Market LLC
•   Prolific Interactive LLC                    •   Wildgoose I LLC                •   WW Brooklyn Navy Yard LLC
•   PxWe Facility & Asset Management Services
                                                •   WW 1010 Hancock LLC            •   WW BuildCo LLC
    LLC
•   South Tryon Street Tenant LLC               •   WW 107 Spring Street LLC       •   WW Co-Obligor Inc.
•   Spacious Technologies, LLC                  •   WW 11 John LLC                 •   WW Enlightened Hospitality Investor LLC
•   The Hub Tenant LLC                          •   WW 110 Wall LLC                •   WW HoldCo LLC
•   The We Company Management Holdings
                                                •   WW 111 West Illinois LLC       •   WW Journal Square Holdings LLC
    L.P.
•   The We Company Management LLC               •   WW 115 W 18th Street LLC       •   WW Journal Square Member LLC
•   The We Company MC LLC                       •   WW 1161 Mission LLC            •   WW Onsite Services AAG LLC
•   The We Company PI L.P.                      •   WW 120 E 23rd Street LLC       •   WW Onsite Services EXP LLC
•   WALTZ MERGER SUB LLC                        •   WW 1328 Florida Avenue LLC     •   WW Onsite Services LLC
•   We Rise Shell LLC                           •   WW 1550 Wewatta Street LLC     •   WW Onsite Services SFI LLC
•   We Work 154 Grand LLC                       •   WW 1601 Fifth Avenue LLC       •   WW Onsite Services SUM LLC
•   We Work 349 5th Ave LLC                     •   WW 1875 Connecticut LLC        •   WW Project Swift Development LLC
•   We Work Management LLC                      •   WW 2015 Shattuck LLC           •   WW Project Swift Member LLC
•   We Work Retail LLC                          •   WW 205 E 42nd Street LLC       •   WW VendorCo LLC
•   WeInsure Holdco LLC                         •   WW 210 N Green LLC             •   WW Worldwide C.V.
•   Welkio LLC                                  •   WW 220 NW Eighth Avenue LLC    •   WWCO Architecture Holdings LLC
•   WeWork 156 2nd LLC                          •   WW 222 Broadway LLC
•   WeWork 175 Varick LLC                       •   WW 2221 South Clark LLC
•   WeWork 25 Taylor LLC                        •   WW 240 Bedford LLC
•   WeWork 261 Madison LLC                      •   WW 25 Broadway LLC
•   WeWork 54 West 40th LLC                     •   WW 26 JS Member LLC
•   WeWork Asset Management LLC                 •   WW 312 Arizona LLC
•   WeWork Bryant Park LLC                      •   WW 350 Lincoln LLC
•   WeWork Canada GP ULC                        •   WW 379 W Broadway LLC




                                                                  4
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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    WW CO-OBLIGOR INC.,                                )    Case No. 23-___________(___)
                                                       )
                             Debtor.                   )    (Joint Administration Requested)
                                                       )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                    Percentage of Equity
             Equity Holder                     Address of Equity Holder
                                                                                           Held
                                              12 East 49th Street, 3rd Floor
    WeWork Companies U.S. LLC                                                               100%
                                                  New York, NY 10017




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
   Case 23-20109         Doc 1      Filed 11/06/23 Entered 11/06/23 22:49:54               Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 WW CO-OBLIGOR INC.,                                  )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )      (Joint Administration Requested)
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

            Shareholder                                   Approximate Percentage of Shares Held
 WeWork Companies U.S. LLC                                               100%
                        Case 23-20109            Doc 1        Filed 11/06/23 Entered 11/06/23 22:49:54                                        Desc Main
                                                               Document     Page 11 of 53


    Fill in this information to identify the case:

    Debtor name:                   WeWork Inc., et al.
    United States Bankruptcy Court for the ___District of New Jersey
                                                  (State)
    Case number (If known):                                                                                                                        ☐ Check if this is an
                                                                                                                                                   amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders1                               12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
                                                                                                                                       Amount of unsecured claim
                                                                                              Nature of the
                                                                                                                                       If the claim is fully unsecured, fill in only
                                                                                                claim (for
                                                                                                                                       unsecured claim amount. If claim is partially
                                                                                             example, trade
                                                                                                               Indicate if claim is    secured, fill in total claim amount and
                                                                                               debts, bank
        Name of creditor and complete mailing      Name, telephone number, and email                              contingent,          deduction for value of collateral or setoff to
                                                                                                  loans,
            address, including zip code               address of creditor contact                               unliquidated, or       calculate unsecured claim.
                                                                                              professional
                                                                                                                    disputed            Total        Deduction      Unsecured claim
                                                                                              services, and
                                                                                                                                       claim, if    for value of
                                                                                              government
                                                                                                                                       partially    collateral or
                                                                                                contracts)
                                                                                                                                       secured         setoff
            U.S. BANK TRUST COMPANY,            ATTN: CHRISTOPHER GRELL
                                                                                               7.875%
            NATIONAL ASSOCIATION                TITLE: VICE PRESIDENT
                                                                                              SENIOR
    1       100 WALL STREET                     EMAIL:
                                                                                             NOTES DUE
                                                                                                                                                                    $170,734,270.16
            6TH FLOOR                           CHRISTOPHER.GRELL@USBANK.COM
                                                                                                2025
            NEW YORK, NY 10005                  PHONE: (212) 951-6990
                                                                                                LEASE
            THE ALTER GROUP                     ATTN: MICHAEL J. ALTER
                                                                                            TERMINATION          CONTINGENT,
            3201 OLD GLENVIEW ROAD              TITLE: PRESIDENT
    2       UNIT #: 302                         EMAIL: MICHAEL@ALTERGROUP.COM
                                                                                               FEES &           UNLIQUIDATED,                                       $11,880,802.44
                                                                                              RELATED             DISPUTED
            WILMETTE, IL 60091                  PHONE: (847) 568-5909
                                                                                             LITIGATION
            U.S. BANK TRUST COMPANY,            ATTN: CHRISTOPHER GRELL
            NATIONAL ASSOCIATION                TITLE: VICE PRESIDENT                       5.00% SENIOR
    3       100 WALL STREET                     EMAIL:                                       NOTES DUE                                                               $9,471,341.67
            6TH FLOOR                           CHRISTOPHER.GRELL@USBANK.COM                    2025
            NEW YORK, NY 10005                  PHONE: (212) 951-6990
            WESTFIELD FULTON CENTER
            LLC                                 ATTN: ALINE TAIREH
            185 GREENWICH STREET                TITLE: GENERAL COUNSEL                       ACCRUED
    4       MANAGEMENT OFFICE OCULUS            EMAIL: ALINE.TAIREH@URW.COM                 UNPAID RENT
                                                                                                                                                                     $8,170,257.30
            LEVEL C2                            PHONE: (212) 284-9982
            NEW YORK, NY 10007
            400 CALIFORNIA, LLC                 ATTN: KENT Y. MOUTON
                                                                                              ACCRUED
            C/O: KENNEDY-WILSON                 TITLE: EVP & GENERAL COUNSEL                                     CONTINGENT,
                                                                                            UNPAID RENT
    5       PROPERTIES, LTD.                    EMAIL:
                                                                                             & RELATED
                                                                                                                UNLIQUIDATED,                                        $7,835,181.90
            151 S. EL CAMINO DRIVE              KMOUTON@KENNEDYWILSON.COM                                         DISPUTED
                                                                                             LITIGATION
            BEVERLY HILLS, CA 90212             PHONE: (310) 887-6400

                                                ATTN: CLARK LEWIS
            THE PLATFORM LLC                                                                   LEASE
                                                TITLE: PRESIDENT
    6       2937 E. GRAND BLVD.
                                                EMAIL: CLEWIS@THEPLATFORM.CITY
                                                                                            TERMINATION                                                              $5,133,719.00
            DETROIT, MI 48202                                                                   FEES
                                                PHONE: (313) 446-8775

            RFR/K 81 PROSPECT OWNER LLC
                                                ATTN: JONATHAN REIFLER
            C/O: RFR REALTY LLC
                                                TITLE: ASSET MANAGEMENT                      ACCRUED
    7       375 PARK AVENUE
                                                EMAIL: JREIFLER@RFR.COM                     UNPAID RENT
                                                                                                                                                                     $5,016,774.34
            10TH FLOOR
                                                PHONE: (212) 308-2061
            NEW YORK, NY 10152




1
         On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
         respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
         or characterization of any claim at a later date.

    Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 1
                    Case 23-20109            Doc 1        Filed 11/06/23 Entered 11/06/23 22:49:54                                        Desc Main
                                                           Document     Page 12 of 53
                                                                                                                                   Amount of unsecured claim
                                                                                          Nature of the
                                                                                                                                   If the claim is fully unsecured, fill in only
                                                                                            claim (for
                                                                                                                                   unsecured claim amount. If claim is partially
                                                                                         example, trade
                                                                                                           Indicate if claim is    secured, fill in total claim amount and
                                                                                           debts, bank
    Name of creditor and complete mailing     Name, telephone number, and email                               contingent,          deduction for value of collateral or setoff to
                                                                                              loans,
        address, including zip code              address of creditor contact                                unliquidated, or       calculate unsecured claim.
                                                                                          professional
                                                                                                                disputed            Total       Deduction       Unsecured claim
                                                                                          services, and
                                                                                                                                   claim, if   for value of
                                                                                          government
                                                                                                                                   partially   collateral or
                                                                                            contracts)
                                                                                                                                   secured        setoff
        MORI TRUST CO., LTD.
                                                                                          ACCRUED
        〒105-6903 KAMIYACHO TRUST
                                            ATTN: YOSHIKI TANAKA                        UNPAID RENT
        TOWER
8       4-1-1 TORANOMON, MINATO-KU
                                            EMAIL: TANAKA-YO@MORI-                         & LEASE                                                               $4,839,247.80
                                            TRUST.CO.JP                                 TERMINATION
        TOKYO
                                                                                            FEES
        JAPAN

        260-261 MADISON AVENUE LLC          ATTN: OMER KACHLON                            ACCRUED
                                                                                                             CONTINGENT,
        261 MADISON AVENUE                  TITLE: GENERAL COUNSEL                      UNPAID RENT
9       27TH FLOOR                          EMAIL:                                       & RELATED
                                                                                                            UNLIQUIDATED,                                        $4,594,399.60
                                                                                                              DISPUTED
        NEW YORK, NY 10016                  OMER.KACHLON@SAPIRCORP.COM                   LITIGATION

        2 NINTH AVENUE PARTNERS, LLC
                                            ATTN: WILLIAM GOTTLIEB
        C/O: WILLIAM GOTTLIEB
                                            TITLE: PRESIDENT                             ACCRUED
10      MANAGEMENT CO., LLC
                                            EMAIL: BILLY@WGOTTLIEB.COM                  UNPAID RENT
                                                                                                                                                                 $4,321,260.14
        177 CHRISTOPHER STREET
                                            PHONE: (646) 546-4369
        NEW YORK, NY 10014
        CP 1875 K STREET LLC
        C/O: CARR PROPERTIES                ATTN: JACKSON PRENTICE
                                                                                           LEASE
        PARTNERSHIP LP                      TITLE: EVP & CHIEF PORTFOLIO
11      THE HUB @ 1615 L ST NW              OFFICER
                                                                                        TERMINATION                                                              $3,643,000.00
                                                                                            FEES
        SUITE 650                           EMAIL: JPRENTICE@CARRPROP.COM
        WASHINGTON, DC 20036
        BEACON CAPITAL PARTNERS,                                                          ACCRUED
                                            ATTN: KRISTEN HOFFMAN
        LLC                                                                             UNPAID RENT
                                            TITLE: GENERAL COUNSEL
12      200 STATE STREET
                                            EMAIL:
                                                                                           & LEASE                                                               $3,525,507.68
        5TH FLOOR                                                                       TERMINATION
                                            KHOFFMAN@BEACONCAPITAL.COM
        BOSTON, MA 02109                                                                    FEES
                                            ATTN: AMBER MURRAYTITLE:
        JAMESTOWN L.P.PONCE CITY
                                            MANAGING DIRECTOR & GENERAL                    LEASE
        MARKET675 PONCE DE LEON
13      AVENUE NE7TH FLOORATLANTA,
                                            COUNSELEMAIL:                               TERMINATION                                                              $3,251,217.13
                                            AMURRAY@JAMESTOWNLP.COMPHO                      FEES
        GA 30308
                                            NE: (770) 805-1000
        RFR/K 77 SANDS OWNER LLC
                                            ATTN: JONATHAN REIFLER
        C/O: RFR REALTY LLC
                                            TITLE: ASSET MANAGEMENT                      ACCRUED
14      375 PARK AVENUE
                                            EMAIL: JREIFLER@RFR.COM                     UNPAID RENT
                                                                                                                                                                 $3,109,488.72
        10TH FLOOR
                                            PHONE: (212) 308-2061
        NEW YORK, NY 10152
        BCSP DENVER PROPERTY LLC
                                            ATTN: BEN BROWN                               ACCRUED
        C/O: BROOKFIELD PROPERTY
                                            TITLE: MANAGING PARTNER                     UNPAID RENT
        GROUP
15      250 VESEY STREET
                                            EMAIL:                                         & LEASE                                                               $3,087,099.10
                                            BEN.BROWN@BROOKFIELD.COM                    TERMINATION
        15TH FLOOR
                                            PHONE: (303) 390-0825                           FEES
        NEW YORK, NY 10281
                                            ATTN: MARC HOROWITZ
        COHEN BROTHERS REALTY                                                             ACCRUED
                                            TITLE: SR. VICE PRESIDENT OF
        CORPORATION                                                                     UNPAID RENT
                                            LEASING
16      750 LEXINGTON AVE.
                                            EMAIL:
                                                                                           & LEASE                                                               $2,985,300.75
        UNIT #: 28                                                                      TERMINATION
                                            MHOROWITZ@COHENBROTHERS.CO
        NEW YORK, NY 10022                                                                  FEES
                                            M
                                            ATTN: CHAD PHILLIPS
        NUVEEN REAL ESTATE - TIAA           TITLE: GLOBAL HEAD OF OFFICE &
                                                                                         ACCRUED
17      730 THIRD AVENUE                    RETAIL
                                                                                        UNPAID RENT
                                                                                                                                                                 $2,856,734.99
        NEW YORK, NY 10017                  EMAIL: CHAD.PHILLIPS@NUVEEN.COM
                                            PHONE: (704) 988-0203

        ONNI GROUP
                                            ATTN: GREG WILKS
        200 N. LASALLE STREET                                                            ACCRUED
18      UNIT #: 750
                                            TITLE: VICE PRESIDENT - LEASING
                                                                                        UNPAID RENT
                                                                                                                                                                 $2,702,445.11
                                            EMAIL: GREGWILKS@ONNI.COM
        CHICAGO, IL 60601

                                            ATTN: PETER WEISS
        WALTER & SAMUELS, INC.              TITLE: CHIEF EXECUTIVE OFFICER
                                                                                         ACCRUED
19      419 PARK AVE. S                     EMAIL: PWEISS@WALTER-
                                                                                        UNPAID RENT
                                                                                                                                                                 $2,574,285.94
        NEW YORK, NY 10016                  SAMUELS.COM
                                            PHONE: (212) 685-6200




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 2
                    Case 23-20109          Doc 1        Filed 11/06/23 Entered 11/06/23 22:49:54                                        Desc Main
                                                         Document     Page 13 of 53
                                                                                                                                 Amount of unsecured claim
                                                                                        Nature of the
                                                                                                                                 If the claim is fully unsecured, fill in only
                                                                                          claim (for
                                                                                                                                 unsecured claim amount. If claim is partially
                                                                                       example, trade
                                                                                                         Indicate if claim is    secured, fill in total claim amount and
                                                                                         debts, bank
  Name of creditor and complete mailing     Name, telephone number, and email                               contingent,          deduction for value of collateral or setoff to
                                                                                            loans,
      address, including zip code              address of creditor contact                                unliquidated, or       calculate unsecured claim.
                                                                                        professional
                                                                                                              disputed            Total       Deduction       Unsecured claim
                                                                                        services, and
                                                                                                                                 claim, if   for value of
                                                                                        government
                                                                                                                                 partially   collateral or
                                                                                          contracts)
                                                                                                                                 secured        setoff
                                          ATTN: NOELLE PERKINS
      CUSHMAN & WAKEFIELD
                                          TITLE: EVP & GENERAL COUNSEL
      225 WEST WACKER STREET                                                              TRADE
20    SUITE 3000
                                          EMAIL:
                                                                                         PAYABLE
                                                                                                                                                               $2,532,989.66
                                          NOELLE.PERKINS@CUSHWAKE.COM
      CHICAGO, IL 60606
                                          PHONE: (312) 470-1800

      JOHN HANCOCK LIFE                   ATTN: THOMAS E. SAMOLUK
      INSURANCE COMPANY (USA)             TITLE: GENERAL COUNSEL                       ACCRUED
21    197 CLARENDON STREET                EMAIL: TSAMOLUK@JHANCOCK.COM                UNPAID RENT
                                                                                                                                                               $2,316,986.42
      BOSTON, MA 02116                    PHONE: (617) 663-3000

      CIM GROUP
      4700 WILSHIRE BOULEVARD
      LOS ANGELES, CA 90010
                                          ATTN: JONATHAN TAO
                                                                                       ACCRUED
22    - AND -                             TITLE: VICE PRESIDENT
                                                                                      UNPAID RENT
                                                                                                                                                               $2,078,939.12
                                          EMAIL: JTAO@CIMGROUP.COM
      540 MADISON AVENUE
      8TH FLOOR
      NEW YORK, NY 10022

      MOZAIC PARTNERS, LLC                ATTN: JACKIE KNIGHT
                                                                                         LEASE
      LAKESIDE CENTER, SUITE 10           TITLE: PRESIDENT
23    3033 EXCELSIOR BOULEVARD            EMAIL: JACKIE@ACKERBERG.COM
                                                                                      TERMINATION                                                              $2,052,764.23
                                                                                          FEES
      MINNEAPOLIS, MN 55416               PHONE: (612) 924-6503

      BROADWAY CONTINENTAL                ATTN: ADAM HENICK                               LEASE
      CORP.                               TITLE: PRESIDENT                            TERMINATION          CONTINGENT,
24    540 BROADWAY                        EMAIL:                                         FEES &           UNLIQUIDATED,                                        $2,028,657.91
      FLOOR 2                             ADAM@CURRENTREADVISORS.COM                    RELATED             DISPUTED
      NEW YORK, NY 10012                  PHONE: (646) 845-0351                        LITIGATION
      500-512 SEVENTH AVENUE L.P.
      C/O: THE CHETRIT GROUP, LLC         ATTN: JO CHETRIT
                                                                                       ACCRUED
25    512 SEVENTH AVENUE                  TITLE: OWNER
                                                                                      UNPAID RENT
                                                                                                                                                               $1,991,940.71
      16TH FLOOR                          PHONE: (646) 230-9360
      NEW YORK, NY 10018

                                          ATTN: BARRETT STERN
      MAYORE ESTATES, LLC
                                          TITLE: MANAGING PARTNER                      ACCRUED
26    100 HENRY STREET
                                          EMAIL: BSTERN@NGKF.COM                      UNPAID RENT
                                                                                                                                                               $1,773,783.00
      BROOKLYN, NY 11201
                                          PHONE: (917) 439-6969

      54 WEST 40TH REALTY LLC
                                          ATTN: ERIC HADAR
      C/O: ALLIED PARTNERS INC.
                                          TITLE: CHAIRMAN & CEO                        ACCRUED
27    770 LEXINGTON AVENUE
                                          EMAIL: ERIC@ALLIEDPARTNERS.COM              UNPAID RENT
                                                                                                                                                               $1,772,239.85
      9TH FLOOR
                                          PHONE: (212) 935-4900
      NEW YORK, NY 10065
                                                                                          LEASE
      CTO21 ACQUISITIONS II LLC           ATTN: DANIEL SMITH
                                                                                      TERMINATION          CONTINGENT,
      369 N. NEW YORK AVE.                TITLE: GENERAL COUNSEL
28    SUITE 201                           EMAIL: DSMITH@CTOREIT.COM
                                                                                         FEES &           UNLIQUIDATED,                                        $1,694,287.51
                                                                                        RELATED             DISPUTED
      WINTER PARK, FL 32789               PHONE: 817-313-4051
                                                                                       LITIGATION
      1460 LEASEHOLD SWIGHM
                                          ATTN: JASON VACKERTITLE:
      LLCC/O: MERINGOFF
                                          PRESIDENT & CEOEMAIL:                        ACCRUED
29    PROPERTIES30 WEST 26TH
                                          JDVACKER@MERPROP.COMPHONE:                  UNPAID RENT
                                                                                                                                                               $1,675,643.42
      STREET8TH FLOORNEW YORK,
                                          (212) 337-7763
      NY 10010

      UNITARIAN UNIVERSALIST              ATTN: ANDREW MCGEORGE
                                                                                         LEASE
      ASSOCIATION                         TITLE: TREASURER & CFO
30    24 FARNSWORTH STREET                EMAIL: AMCGEORGE@UUA.ORG
                                                                                      TERMINATION                                                              $1,655,700.00
                                                                                          FEES
      BOSTON, MA 02210                    PHONE: (617) 948-4305




Official Form 204                              List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 3
          Case 23-20109                Doc 1         Filed 11/06/23 Entered 11/06/23 22:49:54                               Desc Main
                                                      Document     Page 14 of 53


    Fill in this information to identify the case and this filing:

   Debtor Name          WW Co-Obligor Inc.

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       11/06/2023                                   /s/ Pam Swidler
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Pam Swidler
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         OMNIBUS ACTION
                  BY UNANIMOUS WRITTEN CONSENT
          OF THE BOARD OF DIRECTORS, THE SOLE DIRECTOR,
      THE SOLE MEMBER, THE BOARD OF MANAGERS, THE GENERAL
 PARTNER, THE LIMITED PARTNER, OR OTHER SIMILAR GOVERNING BODY,
AS APPLICABLE, OF WEWORK INC. AND EACH OF THE SUBSIDIARIES HERETO

                                  Dated as of November 5, 2023

        The undersigned, being (i) all of the members of the boards of directors, (ii) the sole
member, (iii) the sole director, (iv) the board of managers, (v) the general partner, (vi) the limited
partner (each a “Governing Body”), as applicable, of each of the entities listed in Schedules 1–9
hereof (each, a “Company” and collectively, the “Companies”), as Governing Body of such
Company, by unanimous written consent in lieu of a special meeting and in accordance with the
bylaws, operating agreements, articles of association, or limited liability company agreements of
each Company (collectively, the “Governing Documents”), as applicable, and the applicable laws
of the jurisdiction in which such Company is organized, do hereby approve, consent to, and adopt
the following recitals and resolutions, with the same force and effect as if they had been adopted
at a duly convened special meeting of each Governing Body;

        WHEREAS, each Governing Body has reviewed and considered (i) the filing of voluntary
petitions for relief (the “Bankruptcy Petitions”) for each Company under the provisions of
chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of New Jersey
(the “Bankruptcy Court”) pursuant to the Governing Documents, as applicable, of each Company
and the applicable laws of the jurisdiction in which each Company is organized (the “Restructuring
Matters”); and (ii) the retention of professionals by each Company;

        WHEREAS, on August 8, 2023, the board of directors of WeWork Inc. (the “Board of
Directors”) created a special committee (the “Special Committee”) comprising of the disinterested
directors and on August 17, 2023, delegated to the Special Committee certain rights, authority,
and powers in connection with any matters, including the Restructuring Matters, in which a
conflict of interests exists or is reasonably likely to exist between the Company, on the one hand,
and any of its current and former directors, managers, officers, investment committee members,
special or other committee members, equity holders (regardless of whether such interests are held
directly or indirectly), affiliated investment funds or investment vehicles, managed accounts or
funds, predecessors, participants, successors, assigns, subsidiaries, affiliates, partners, limited
partners, general partners, principals, members, management companies, fund advisors or
managers, employees, agents, trustees, advisory board members, financial advisors, attorneys
(including any other attorneys or professionals retained by any current or former director or
manager in his or her capacity as director or manager of an entity), accountants, investment
bankers, consultants, representatives, and other professionals and advisors of such person or entity,
and any such person’s or entity’s respective heirs, executors, estates, and nominees, on the other
hand, as reasonably determined by the Special Committee (each a “Conflicts Matter”);

     WHEREAS, on August 17, 2023, the Board of Directors delegated to the Special
Committee the authority and power to review, discuss, consider, and negotiate the Company’s
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entry into and consummation of Restructuring Matters, including to (a) review and evaluate any
such Restructuring Matters and consider whether or not it is fair to and in the best interests of the
Company and its respective stakeholders to proceed with such Restructuring Matters,
(b) to determine that any such Restructuring Matters should not proceed at the present time if not
fair or in such best interests;

        WHEREAS, in respect of the Companies that are incorporated in Canada (the “Canadian
Companies”), WeWork Inc. and each Canadian Company have requested an appointment of
WeWork Inc. as foreign representative (the “Foreign Representative”) in connection with and in
furtherance of WeWork Inc. applying to the Ontario Superior Court of Justice under Part IV of the
Companies’ Creditors Arrangement Act as the Foreign Representative;

       WHEREAS, each Governing Body has reviewed and considered the materials presented
by the management of each Company and each Company’s financial and legal advisors, and has
had adequate opportunity to consult with such persons regarding the materials presented, obtain
additional information, and to fully consider each of the strategic alternatives available to
each Company;

       WHEREAS, each Governing Body has determined, in its business judgement, that the
following resolutions are advisable and in the best interest of the Companies, their creditors, other
stakeholders, and other parties in interest;

       NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of each Company, the undersigned do hereby adopt the
following resolutions:

                                         Chapter 11 Filing

        RESOLVED, in the business judgment of each Governing Body, it is desirable and in the
best interests of the Companies, the creditors, other stakeholders, and other parties in interest, that
each Company files or causes to be filed the Bankruptcy Petitions under the Bankruptcy Code in
the Bankruptcy Court, and any other petition for relief or recognition or other order that may be
desirable under applicable law in the United States, and, in accordance with the requirements in
each Company’s governing documents and applicable law, hereby consents to, authorizes, and
approves, the filing of the Bankruptcy Petitions;

        FURTHER RESOLVED, that any director or other duly appointed officer of each
 Company (collectively, the “Authorized Persons” and each an “Authorized Person”), shall be,
 and each of them individually hereby is, authorized and directed for and on behalf of each
 Company to take all actions (including, without limitation, to negotiate and execute any
 documents, certificates, supplemental agreements, and instruments) to act as signatory and
 attorney on behalf of each Company in respect of the Restructuring Matters and/or any persons
 to whom such Authorized Persons and/or officers delegate certain responsibilities, be, and hereby
 are, authorized, empowered, and directed to execute and file on behalf of each Company all
 petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action
 that they deem necessary or proper to obtain such relief, including, without limitation, any action
 necessary or proper to maintain the ordinary course operations of each Company’s business;

                                                  2
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       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to execute and file on behalf of each Company all other petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of the Companies’ businesses;

       FURTHER RESOLVED, in respect of the Companies that are incorporated in Canada,
WeWork Inc. hereby authorizes and consents to its appointment as Foreign Representative by the
Bankruptcy Court in connection with and in furtherance of WeWork Inc. applying to the Ontario
Superior Court of Justice under Part IV of the Companies’ Creditors Arrangement Act as the
Foreign Representative of Canadian Companies for recognition of the chapter 11 proceedings
commenced by WeWork Inc. and further consents to take all steps and actions it deems necessary
or proper in connection with such application and proceedings; and

        FURTHER RESOLVED, each Canadian Company hereby authorizes and consents to
WeWork Inc. applying to the Ontario Superior Court of Justice under Part IV of the Companies’
Creditors Arrangement Act as the Foreign Representative of the Canadian Companies for
recognition of the chapter 11 proceedings commenced by WeWork Inc. and further consent to take
all steps and actions it deems necessary or proper in connection with such application and
proceedings.

                                   Retention of Professionals

        RESOLVED, each of the Authorized Persons, be, and hereby are, authorized, empowered,
and directed to retain on behalf of each Company: (i) the law firm of Kirkland & Ellis LLP and
Kirkland & Ellis International LLP as bankruptcy counsel; (ii) the law firm of Cole Schotz P.C. as
local bankruptcy counsel; (iii) PJT Partners LP as investment banker; (iv) Alvarez & Marsal North
America, LLC as restructuring advisor; (v) Epiq Corporate Restructuring, LLC as claims and
noticing agent; (vi) Deloitte Tax LLP as tax advisor; (vii) Munger, Tolles & Olson LLP, as legal
counsel; to WeWork Inc. under the direction of the Special Committee; (viii) Province, LLC, as
financial advisor to WeWork Inc. under the direction of the Special Committee, and (ix) any other
legal counsel, accountants, financial advisors, restructuring advisors or other professionals the
Authorized Persons deem necessary, appropriate, or advisable, each to represent and assist the
Companies in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and applicable law (including, but not limited to, the law firms filing any
pleadings or responses), and in connection therewith, the Authorized Persons, be, and hereby are
authorized, empowered, and directed, in accordance with the terms and conditions hereof, to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such services; and

       FURTHER RESOLVED, each of the Authorized Persons, be, and hereby is authorized,
empowered and directed to execute and file all petitions, schedules, motions, lists applications,
pleadings, and other papers, and to perform such further actions and execute such further
documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate, or desirable in accordance with these resolutions.



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                        Use of Cash Collateral and Adequate Protection

        RESOLVED, that each Company will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for certain of the Companies’ prepetition secured lenders under
certain credit facilities and notes indentures by and among certain of the Companies, the guarantors
party thereto, and the lenders party thereto (the “Prepetition Secured Lenders”);

        FURTHER RESOLVED, each of the Authorized Persons be, and hereby is, authorized,
directed, and empowered in the name of, and on behalf of, each Company to seek approval of the
use of cash collateral pursuant to a cash collateral order in interim and final form (together,
the “Cash Collateral Order”), and, to the extent applicable to the Company, any Authorized Person
be, and hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and
all agreements, instruments, or documents, by or on behalf of the Company, necessary or advisable
to implement the Cash Collateral Order, including providing for adequate protection to the
Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy Code
(the “Adequate Protection Obligations”), as well as any additional or further agreements for the
use of cash collateral in connection with the chapter 11 cases, which agreement(s) may require the
Companies to grant adequate protection and security interests to the Prepetition Secured Lenders
and each other agreement, instrument, or document to be executed and delivered in connection
therewith, by or on behalf of the Companies pursuant thereto or in connection therewith, all with
such changes therein and additions thereto as any Authorized Person shall deem necessary, proper,
or advisable, such approval to be conclusively evidenced by the taking of such action or by the
execution and delivery of such agreement, instrument, or document; and

       FURTHER RESOLVED, that each Company, as debtors and debtors in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations.

                                    Further and Prior Actions

        RESOLVED, the Companies are hereby authorized to authorize (and each Company
hereby authorizes) any direct or indirect subsidiary of each Company or any entity of which such
Company or any subsidiary of such Company is the sole member, general partner, managing
member, or equivalent manager, as applicable, to take each of the actions described in these
resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto shall have or cause an adverse effect on any
such subsidiary or such Company’s interest therein (including, without limitation, any automatic
dissolution, divestiture, dissociation, or like event under applicable law);

        FURTHER RESOLVED, in addition to the specific authorizations heretofore conferred
upon such Authorized Persons, the Authorized Persons, either individually or as otherwise
required by each Company’s governing documents and applicable law, be, and each of them
hereby is, authorized to execute, acknowledge, deliver, and file any and all agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other documents
on behalf of each Company relating to the Restructuring Matters;



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        FURTHER RESOLVED, each of the Authorized Persons (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary, appropriate,
or desirable in order to fully carry out the intent and accomplish the purposes of the resolution
adopted herein;

        FURTHER RESOLVED, the Governing Bodies have received sufficient notice of the
foregoing resolutions, as well as the actions and transactions relating to the matters contemplated
by the foregoing resolutions, as may be required by the governing documents of each Company,
or hereby waive any right to have received such notice;

         FURTHER RESOLVED, all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed, and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Governing Bodies;

        FURTHER RESOLVED, that, to the extent any action authorized herein to be taken by
any Governing Body or Authorized Person constitutes a Conflicts Matter, such action is hereby
approved by the Special Committee, and the Special Committee hereby authorizes all Authorized
Persons to take any suction actions and to do all such other acts, deeds, and other things as each
Company itself may lawfully do, in accordance with its governing documents and applicable law,
howsoever arising in connection with such Conflicts Matter, or in furtherance of the intentions
expressed in the foregoing resolutions with respect to such Conflicts Matter, including, but not
limited to, the negotiation, finalization, execution, and delivery of any other agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other documents
whatsoever as the individual acting may in his or her absolute and unfettered discretion approve,
deem, or determine necessary, appropriate, or advisable, such approval, deeming, or determination
to be conclusively evidenced by such individual’s taking such action or the execution of such
agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other
documents; and

        FURTHER RESOLVED, any Authorized Person be, and each of them hereby is,
authorized to do all such other acts, deeds, and other things as each Company itself may lawfully
do, in accordance with its governing documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions expressed in the foregoing
resolutions, including, but not limited to, the negotiation, finalization, execution, and delivery of
any other agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
and other documents whatsoever as the individual acting may in his or her absolute and unfettered
discretion approve, deem, or determine necessary, appropriate, or advisable, such approval,
deeming, or determination to be conclusively evidenced by such individual’s taking such action or

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the execution of such agreements, certificates, instruments, powers of attorney, letters, forms,
transfer, deeds, and other documents.




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of WeWork Inc.,
do hereby consent to the foregoing actions and resolutions effective as of the date first written
above. This unanimous written consent may be executed in counterparts, each of which shall be
deemed an original and all of which together shall constitute one and the same instrument. This
unanimous written consent may be executed by facsimile, email transmission, or other electronic
means, and such facsimile, email transmission, or other electronic means shall be valid and binding
to the same extent as if it were an original.


                                             Board of Directors of the TopCo listed on
                                             Schedule 1


                                             By:
                                             Name: David Tolley



                                             By:
                                             Name: Paul Keglevic



                                             By:
                                             Name: Paul Aronzon



                                             By:
                                             Name: Alex Clavel


                                             By:
                                             Name: Elizabeth LaPuma



                                             By:
                                             Name: Henry S. Miller



                                             By:
                                             Name: Vikas Parekh




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of WeWork Inc.,
do hereby consent to the foregoing actions and resolutions effective as of the date first written
above. This unanimous written consent may be executed in counterparts, each of which shall be
deemed an original and all of which together shall constitute one and the same instrument. This
unanimous written consent may be executed by facsimile, email transmission, or other electronic
means, and such facsimile, email transmission, or other electronic means shall be valid and binding
to the same extent as if it were an original.


                                             Board of Directors of the TopCo listed on
                                             Schedule 1


                                             By:
                                             Name: David Tolley



                                             By:
                                             Name: Paul Keglevic



                                             By:
                                             Name: Paul Aronzon



                                             By:
                                             Name: Alex Clavel


                                             By:
                                             Name: Elizabeth LaPuma



                                             By:
                                             Name: Henry S. Miller



                                             By:
                                             Name: Vikas Parekh




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of WeWork Inc.,
do hereby consent to the foregoing actions and resolutions effective as of the date first written
above. This unanimous written consent may be executed in counterparts, each of which shall be
deemed an original and all of which together shall constitute one and the same instrument. This
unanimous written consent may be executed by facsimile, email transmission, or other electronic
means, and such facsimile, email transmission, or other electronic means shall be valid and binding
to the same extent as if it were an original.


                                             Board of Directors of the TopCo listed on
                                             Schedule 1


                                             By:
                                             Name: David Tolley



                                             By:
                                             Name: Paul Keglevic



                                             By:
                                             Name: Paul Aronzon



                                             By:
                                             Name: Alex Clavel


                                             By:
                                             Name: Elizabeth LaPuma



                                             By:
                                             Name: Henry S. Miller



                                             By:
                                             Name: Vikas Parekh




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of WeWork Inc.,
do hereby consent to the foregoing actions and resolutions effective as of the date first written
above. This unanimous written consent may be executed in counterparts, each of which shall be
deemed an original and all of which together shall constitute one and the same instrument. This
unanimous written consent may be executed by facsimile, email transmission, or other electronic
means, and such facsimile, email transmission, or other electronic means shall be valid and binding
to the same extent as if it were an original.


                                             Board of Directors of the TopCo listed on
                                             Schedule 1


                                             By:
                                             Name: David Tolley



                                             By:
                                             Name: Paul Keglevic



                                             By:
                                             Name: Paul Aronzon



                                             By:
                                             Name: Alex Clavel


                                             By:
                                             Name: Elizabeth LaPuma



                                             By:
                                             Name: Henry S. Miller



                                             By:
                                             Name: Vikas Parekh




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            IN WITNESS WHEREOF, the undersigned, constituting the board of directors of WeWork Inc.,
            do hereby consent to the foregoing actions and resolutions effective as of the date first written
            above. This unanimous written consent may be executed in counterparts, each of which shall be
            deemed an original and all of which together shall constitute one and the same instrument. This
            unanimous written consent may be executed by facsimile, email transmission, or other electronic
            means, and such facsimile, email transmission, or other electronic means shall be valid and binding
            to the same extent as if it were an original.


                                                             Board of Directors of the TopCo listed on
                                                             Schedule 1


                                                             By:
                                                             Name: David Tolley



                                                             By:
                                                             Name: Paul Keglevic



                                                             By:
                                                             Name: Paul Aronzon



                                                             By:
                                                             Name: Alex Clavel


                                                             By:
                                                             Name: Elizabeth LaPuma



                                                             By:
                                                             Name: Henry S. Miller



                                                             By:
                                                             Name: Vikas Parekh




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IN WITNESS WHEREOF, the undersigned, constituting the sole member of each subsidiary
listed on Schedule 2, does hereby consent to the foregoing actions and resolutions effective as of
the date first written above. This unanimous written consent may be executed in counterparts,
each of which shall be deemed an original and all of which together shall constitute one and the
same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.


                                              WEWORK INC., being the Sole Member of each
                                              Subsidiary listed on Schedule 2




                                               Pamela Swidler
                                               Its: Chief Legal Officer and Secretary




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IN WITNESS WHEREOF, the undersigned, constituting the general partner of all subsidiaries
listed on Schedule 3, does hereby consent to the foregoing actions and resolutions effective as of
the date first written above. This unanimous written consent may be executed in counterparts,
each of which shall be deemed an original and all of which together shall constitute one and the
same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.


                                              The WE Company MC LLC, being General Partner
                                              of the Subsidiaries listed on
                                              Schedule 3



                                               _____________________________________ ___
                                               Pamela Swidler
                                               Its: Chief Legal Officer and Secretary




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of all subsidiaries
listed on Schedule 4, do hereby consent to the foregoing actions and resolutions effective as of the
date first written above. This unanimous written consent may be executed in counterparts, each
of which shall be deemed an original and all of which together shall constitute one and the same
instrument. This unanimous written consent may be executed by facsimile, email transmission, or
other electronic means, and such facsimile, email transmission, or other electronic means shall be
valid and binding to the same extent as if it were an original.


                                              Board of Directors of the Subsidiaries listed on
                                              Schedule 4


                                              By:
                                              Name: Pamela Swidler



                                              By:
                                              Name: Kurt Wehner




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of all subsidiaries
listed on Schedule 4, do hereby consent to the foregoing actions and resolutions effective as of the
date first written above. This unanimous written consent may be executed in counterparts, each
of which shall be deemed an original and all of which together shall constitute one and the same
instrument. This unanimous written consent may be executed by facsimile, email transmission, or
other electronic means, and such facsimile, email transmission, or other electronic means shall be
valid and binding to the same extent as if it were an original.


                                              Board of Directors of the Subsidiaries listed on
                                              Schedule 4


                                              By:
                                              Name: Pamela Swidler



                                              By:
                                              Name: Kurt Wehner




                            [Signature Page to Omnibus Written Consent]
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IN WITNESS WHEREOF, the undersigned, constituting the board of managers of all
subsidiaries listed on Schedule 5, do hereby consent to the foregoing actions and resolutions
effective as of the date first written above. This unanimous written consent may be executed in
counterparts, each of which shall be deemed an original and all of which together shall constitute
one and the same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.



                                              Board of Managers of each Subsidiary listed on
                                              Schedule 5


                                              By:
                                              Name: Pamela Swidler



                                              By:
                                              Name: Kurt Wehner




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IN WITNESS WHEREOF, the undersigned, constituting the board of managers of all
subsidiaries listed on Schedule 5, do hereby consent to the foregoing actions and resolutions
effective as of the date first written above. This unanimous written consent may be executed in
counterparts, each of which shall be deemed an original and all of which together shall constitute
one and the same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.



                                              Board of Managers of each Subsidiary listed on
                                              Schedule 5


                                              By:
                                              Name: Pamela Swidler



                                              By:
                                              Name: Kurt Wehner




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IN WITNESS WHEREOF, the undersigned, constituting the sole member of each subsidiary
listed on Schedule 6, does hereby consent to the foregoing actions and resolutions effective as of
the date first written above. This unanimous written consent may be executed in counterparts,
each of which shall be deemed an original and all of which together shall constitute one and the
same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.


                                              WEWORK COMPANIES U.S. LLC, being
                                              the Sole Member of each Subsidiary listed on
                                              Schedule 6


                                               _____________________________________ ___
                                               Pamela Swidler
                                               Its: Chief Legal Officer and Secretary




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IN WITNESS WHEREOF, the undersigned, constituting the board of directors of all
subsidiaries listed on Schedule 7, do hereby consent to the foregoing actions and resolutions
effective as of the date first written above. This unanimous written consent may be executed
in counterparts, each of which shall be deemed an original and all of which together shall
constitute one and the same instrument.           This unanimous written consent may be
executed by facsimile, email transmission, or other electronic means, and such facsimile, email
transmission, or other electronic means shall be valid and binding to the same extent as if it were
an original.

                                             Board of Directors of the Subsidiaries listed on
                                             Schedule 7


                                             By:
                                             Name: Brianna Iverson



                                             By:
                                             Name: Michael DePinho




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IN WITNESS WHEREOF, the undersigned, constituting the general partner of all subsidiaries
listed on Schedule 8, do hereby consent to the foregoing actions and resolutions effective as of
the date first written above. This unanimous written consent may be executed in counterparts,
each of which shall be deemed an original and all of which together shall constitute one and the
same instrument. This unanimous written consent may be executed by facsimile, email
transmission, or other electronic means, and such facsimile, email transmission, or other electronic
means shall be valid and binding to the same extent as if it were an original.


                                              WEWORK CANADA GP ULC, being General
                                              Partner of the Limited Partnerships listed on
                                              Schedule 8



                                               _____________________________________ ___
                                               Michael DePinho
                                               Its: Authorized Signatory




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IN WITNESS WHEREOF, the undersigned, constituting the general partner and the limited
partner of all subsidiaries listed on Schedule 9, does hereby consent to the foregoing actions and
resolutions effective as of the date first written above. This unanimous written consent may be
executed in counterparts, each of which shall be deemed an original and all of which together shall
constitute one and the same instrument. This unanimous written consent may be executed by
facsimile, email transmission, or other electronic means, and such facsimile, email transmission,
or other electronic means shall be valid and binding to the same extent as if it were an original.


                                             WEWORK COMPANIES PARTNER LLC, being
                                             General Partner of the Subsidiaries listed on
                                             Schedule 9



                                              _____________________________________ ___
                                              Pamela Swidler
                                              Its: Chief Legal Officer and Secretary


                                             and


                                             WEWORK COMPANIES U.S. LLC, being
                                             Limited Partner of the Subsidiaries listed on
                                             Schedule 9


                                              _____________________________________ ___
                                              Pamela Swidler
                                              Its: Chief Legal Officer and Secretary




                           [Signature Page to Omnibus Written Consent]
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                                      Schedule 1
 Board of Directors: David Tolley, Paul Keglevic, Paul Aronzon, Alex Clavel, Elizabeth
                     LaPuma, Henry S. Miller, and Vikas Parekh
                 TopCo                                     Jurisdiction
WeWork Inc.                                                    DE

                                      Schedule 2
                              Sole Member: WeWork Inc.
             Subsidiary                                    Jurisdiction
WW Holdco LLC                                                  DE

                                      Schedule 3
                    General Partner: The We Company MC LLC
             Subsidiary                                    Jurisdiction
The We Company Management Holdings                           Cayman
L.P.
The We Company PI L.P.                                        Cayman

                                      Schedule 4
                  Board of Directors: Pamela Swidler, Kurt Wehner
              Subsidiary                                   Jurisdiction
Euclid WW Holdings Inc.                                        DE
MissionU PBC                                                   DE
WeWork Space Services Inc.                                     NY
WW Co-Obligor Inc.                                             DE

                                      Schedule 5
                  Board of Managers: Pamela Swidler, Kurt Wehner
             Subsidiary                                    Jurisdiction
The We Company MC LLC                                          DE
The WE Company Management LLC                                  DE
WeWork Companies U.S. LLC                                      DE
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                                     Schedule 6
                    Sole Member: WeWork Companies U.S. LLC
               Subsidiary                               Jurisdiction
WeWork Companies Partner LLC                                NY
1 Beacon Street Tenant LLC                                  NY
1 Belvedere Drive Tenant LLC                                NY
1 Glenwood Ave Tenant LLC                                   NY
1 Lincoln Street Tenant LLC                                 NY
1 Milk Street Tenant LLC                                    NY
1 Post Street Tenant LLC                                    NY
1 South Dearborn Street Tenant LLC                          NY
1 Union Square West HQ LLC                                  NY
10 East 38th Street Tenant LLC                              NY
10 East 40th Street HQ LLC                                  NY
100 Bayview Circle Tenant LLC                               NY
100 Broadway Tenant LLC                                     NY
100 S State Street Tenant LLC                               NY
100 Summer Street Tenant LLC                                NY
10000 Washington Boulevard Tenant LLC                       NY
1001 Woodward Ave Tenant LLC                                NY
1003 East 4th Place Tenant LLC                              NY
101 East Washington Street Tenant LLC                       NY
101 Marietta Street NorthWest Tenant LLC                    NY
101 North 1st Avenue Tenant LLC                             NY
10250 Constellation Tenant LLC                              NY
1031 South Broadway Tenant LLC                              NY
10585 Santa Monica Boulevard Tenant LLC                     NY
10845 Griffith Peak Drive Tenant LLC                        NY
10885 NE 4th Street Tenant LLC                              NY
109 S 5th Street Tenant LLC                                 NY
10900 Stonelake Boulevard Tenant LLC                        NY
1099 Stewart Street Tenant LLC                              NY
11 Park Pl Tenant LLC                                       NY
110 110th Avenue Northeast Tenant LLC                       NY
110 Corcoran Street Tenant LLC                              NY
110 Wall Manager LLC                                        NY
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               Subsidiary                               Jurisdiction
1100 15th Street NW Tenant LLC                              NY
1100 Ludlow Street Tenant LLC                               NY
1100 Main Street Tenant LLC                                 NY
1111 Broadway Tenant LLC                                    NY
1111 West 6th Street Tenant LLC                             NY
1114 W Fulton Market Q LLC                                  NY
1115 Broadway Q LLC                                         NY
1115 Howell Mill Road Tenant LLC                            NY
1115 W Fulton Market Q LLC                                  NY
115 Broadway Tenant LLC                                     NY
115 East 23rd Street Tenant LLC                             NY
1150 South Olive Street Tenant LLC                          NY
1155 Perimeter Center West Tenant LLC                       NY
1155 West Fulton Street Tenant LLC                          NY
1156 6th Avenue Tenant LLC                                  NY
117 NE 1st Ave Tenant LLC                                   NY
1175 Peachtree Tenant LLC                                   NY
11801 Domain Blvd Tenant LLC                                NY
12 East 49th Street Tenant LLC                              NY
12 South 1st Street Tenant LLC                              NY
120 West Trinity Place Tenant LLC                           NY
1200 17th Street Tenant LLC                                 NY
1200 Franklin Avenue Tenant LLC                             NY
1201 3rd Avenue Tenant LLC                                  NY
1201 Wills Street Tenant LLC                                NY
1201 Wilson Blvd Tenant LLC                                 NY
12130 Millennium Drive Tenant LLC                           NY
1240 Rosecrans Tenant LLC                                   NY
125 S Clark Street Tenant LLC                               NY
125 West 25th Street Tenant LLC                             NY
12655 Jefferson Blvd Tenant LLC                             NY
128 South Tryon Street Tenant LLC                           NY
130 5th Avenue Tenant LLC                                   NY
130 Madison Avenue Tenant LLC                               NY
130 W 42nd Street Tenant LLC                                NY
1305 2nd Street Q LLC                                       NY
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                Subsidiary                               Jurisdiction
1330 Lagoon Avenue Tenant LLC                                NY
1333 New Hampshire Avenue Northwest
Tenant LLC                                                   NY
135 E 57th Street Tenant LLC                                 NY
135 Madison Ave Tenant LLC                                   NY
1372 Peachtree Street NE Tenant LLC                          NY
1389 Peachtree Street Northwest Tenant LLC                   NY
1400 Lavaca Street Tenant LLC                                NY
1410 Broadway Tenant LLC                                     NY
1411 4th Avenue Tenant LLC                                   NY
142 W 57th Street Tenant LLC                                 NY
1430 Walnut Street Tenant LLC                                NY
1440 Broadway Tenant LLC                                     NY
1448 NW Market Street Tenant LLC                             NY
1449 Woodward Avenue Tenant LLC                              NY
145 W 45th Street Tenant LLC                                 NY
1450 Broadway Tenant LLC                                     NY
1453 3rd Street Promenade Q LLC                              NY
1455 Market Street Tenant LLC                                NY
1460 Broadway Tenant LLC                                     NY
148 Lafayette Street Tenant LLC                              NY
149 5th Avenue Tenant LLC                                    NY
149 Madison Avenue Tenant LLC                                NY
15 West 27th Street Tenant LLC                               NY
150 4th Ave N Tenant LLC                                     NY
152 3rd Street Tenant LLC                                    NY
1525 11th Ave Tenant LLC                                     NY
1535 Broadway Tenant LLC                                     NY
154 W 14th Street Tenant LLC                                 NY
1547 9th Street HQ LLC                                       NY
1557 West Innovation Way Tenant LLC                          NY
1560 Broadway Tenant LLC                                     NY
16 East 34th Street Tenant LLC                               NY
160 Varick Street Tenant LLC                                 NY
160 W Santa Clara St Tenant LLC                              NY
1600 7th Avenue Tenant LLC                                   NY
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               Subsidiary                               Jurisdiction
1601 Elm Street Tenant LLC                                  NY
1601 Market Street Tenant LLC                               NY
1601 Vine Street Tenant LLC                                 NY
161 Avenue of the Americas Tenant LLC                       NY
1615 Platte Street Tenant LLC                               NY
1619 Broadway Tenant LLC                                    NY
166 Geary Street HQ LLC                                     NY
1660 Lincoln Street Tenant LLC                              NY
167 N Green Street Tenant LLC                               NY
1700 Lincoln Street Tenant LLC                              NY
1701 Rhode Island Avenue Northwest Tenant
LLC                                                         NY
1725 Hughes Landing Boulevard Tenant LLC                    NY
1730 Minor Avenue Tenant LLC                                NY
17300 Laguna Canyon Road Tenant LLC                         NY
177 E Colorado Blvd Tenant LLC                              NY
1775 Tysons Boulevard Tenant LLC                            NY
18 West 18th Street Tenant LLC                              NY
180 Geary Street HQ LLC                                     NY
180 Sansome Street Tenant LLC                               NY
1814 Franklin St Q LLC                                      NY
18191 Von Karman Avenue Tenant LLC                          NY
1825 South Grant Street Tenant LLC                          NY
1828 Walnut St Tenant LLC                                   NY
183 Madison Avenue Q LLC                                    NY
1840 Gateway Dr Tenant LLC                                  NY
185 Madison Avenue Tenant LLC                               NY
18691 Jamboree Road Tenant LLC                              NY
1875 K Street NW Tenant LLC                                 NY
1881 Broadway HQ LLC                                        NY
1900 Market Street Tenant LLC                               NY
1900 Powell Street Tenant LLC                               NY
1910 North Ola Avenue Tenant LLC                            NY
1920 McKinney Ave Tenant LLC                                NY
195 Montague Street Tenant LLC                              NY
199 Water Street Tenant LLC                                 NY
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2 Belvedere Drive Tenant LLC                                NY
2 Embarcadero Center Tenant LLC                             NY
2 North LaSalle Street Tenant LLC                           NY
20 W Kinzie Tenant LLC                                      NY
200 Berkeley Street Tenant LLC                              NY
200 Massachusetts Ave NW Tenant LLC                         NY
200 Portland Tenant LLC                                     NY
200 South Biscayne Blvd Tenant LLC                          NY
200 South Orange Avenue Tenant LLC                          NY
200 Spectrum Center Drive Tenant LLC                        NY
201 Spear St Tenant LLC                                     NY
2031 3rd Ave Tenant LLC                                     NY
205 Hudson Street Tenant LLC                                NY
205 North Detroit Street Tenant LLC                         NY
21 Penn Plaza Tenant LLC                                    NY
210 N Green Partners LLC                                    NY
210 N Green Promoter LLC                                    NY
2120 Berkeley Way Tenant LLC                                NY
21255 Burbank Boulevard Tenant LLC                          NY
214 West 29th Street Tenant LLC                             NY
22 Cortlandt Street HQ LLC                                  NY
2201 Broadway Tenant LLC                                    NY
221 6th Street Tenant LLC                                   NY
2211 Michelson Drive Tenant LLC                             NY
222 Kearny Street Tenant LLC                                NY
222 North Sepulveda Tenant LLC                              NY
222 S Riverside Plaza Tenant LLC                            NY
2221 Park Place Tenant LLC                                  NY
2222 Ponce De Leon Blvd Tenant LLC                          NY
225 South 6th St Tenant LLC                                 NY
225 W 39th Street Tenant LLC                                NY
229 West 36th Street Tenant LLC                             NY
231 11th Ave Tenant LLC                                     NY
2323 Delgany Street Tenant LLC                              NY
24 Farnsworth Street Q LLC                                  NY
2-4 Herald Square Tenant LLC                                NY
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               Subsidiary                               Jurisdiction
2401 Elliott Avenue Tenant LLC                              NY
2420 17th Street Tenant LLC                                 NY
2425 East Camelback Road Tenant LLC                         NY
245 Livingston St Q LLC                                     NY
25 West 45th Street HQ LLC                                  NY
250 E 200 S Tenant LLC                                      NY
250 Park Avenue Tenant LLC                                  NY
255 Giralda Avenue Tenant LLC                               NY
255 Greenwich Street Tenant LLC                             NY
255 S King St Tenant LLC                                    NY
2600 Executive Parkway Tenant LLC                           NY
2700 Post Oak Blvd. Tenant LLC                              NY
27-01 Queens Plaza North Tenant LLC                         NY
2755 Canyon Blvd WW Tenant LLC                              NY
28 2nd Street Tenant LLC                                    NY
28 West 44th Street HQ LLC                                  NY
29 West 30th Street Tenant LLC                              NY
30 Hudson Street Tenant LLC                                 DE
30 Wall Street Tenant LLC                                   NY
300 Morris Street Tenant LLC                                NY
300 Park Avenue Tenant LLC                                  NY
3000 Olym Boulevard Tenant LLC                              NY
3000 S Robertson Blvd Q LLC                                 NY
3001 Bishop Drive Tenant LLC                                NY
3003 Woodbridge Ave Tenant LLC                              NY
3090 Olive Street Tenant LLC                                NY
31 St James Ave Tenant LLC                                  NY
3101 Park Boulevard Tenant LLC                              NY
311 W 43rd Street Tenant LLC                                NY
3120 139th Avenue Southeast Tenant LLC                      NY
315 East Houston Tenant LLC                                 NY
315 W 36th Street Tenant LLC                                NY
316 West 12th Street Tenant LLC                             NY
3200 Park Center Drive Tenant LLC                           NY
3219 Knox Street Tenant LLC                                 NY
3280 Peachtree Road NE Tenant LLC                           NY
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               Subsidiary                               Jurisdiction
33 Arch Street Tenant LLC                                   NY
33 East 33rd Street Tenant LLC                              NY
33 Irving Tenant LLC                                        NY
330 North Wabash Tenant LLC                                 NY
3300 N. Interstate 35 Tenant LLC                            NY
332 S Michigan Tenant LLC                                   NY
333 West San Carlos Tenant LLC                              NY
3365 Piedmont Road Tenant LLC                               NY
340 Bryant Street HQ LLC                                    NY
345 4th Street Tenant LLC                                   NY
345 West 100 South Tenant LLC                               NY
35 East 21st Street HQ LLC                                  NY
353 Sacramento Street Tenant LLC                            NY
35-37 36th Street Tenant LLC                                NY
360 NW 27th Street Tenant LLC                               NY
3600 Brighton Boulevard Tenant LLC                          NY
38 West 21st Street Tenant LLC                              NY
385 5th Avenue Q LLC                                        NY
3900 W Alameda Ave Tenant LLC                               NY
391 San Antonio Road Tenant LLC                             NY
40 Water Street Tenant LLC                                  NY
400 California Street Tenant LLC                            NY
400 Capitol Mall Tenant LLC                                 NY
400 Concar Drive Tenant LLC                                 NY
400 Lincoln Square Tenant LLC                               NY
400 Spectrum Center Drive Tenant LLC                        NY
4005 Miranda Ave Tenant LLC                                 NY
401 San Antonio Road Tenant LLC                             NY
404 Fifth Avenue Tenant LLC                                 NY
4041 Macarthur Boulevard Tenant LLC                         NY
405 Mateo Street Tenant LLC                                 NY
408 Broadway Tenant LLC                                     NY
410 North Scottsdale Road Tenant LLC                        NY
414 West 14th Street HQ LLC                                 NY
415 Mission Street Tenant LLC                               NY
419 Park Avenue South Tenant LLC                            NY
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420 5th Avenue Q LLC                                        NY
420 Commerce Street Tenant LLC                              NY
WW Project Swift Member LLC                                 DE
424-438 Fifth Avenue Tenant LLC                             NY
428 Broadway Tenant LLC                                     NY
429 Lenox Ave Tenant LLC                                    NY
430 Park Avenue Tenant LLC                                  NY
4311 11th Avenue Northeast Tenant LLC                       NY
433 Hamilton Avenue Tenant LLC                              NY
437 5th Avenue Q LLC                                        NY
437 Madison Avenue Tenant LLC                               NY
44 East 30th Street HQ LLC                                  NY
44 Montgomery Street Tenant LLC                             NY
44 Wall Street HQ LLC                                       NY
448 North LaSalle Street Tenant LLC                         NY
45 West 18th Street Tenant LLC                              NY
450 Lexington Tenant LLC                                    NY
460 Park Ave South Tenant LLC                               NY
460 West 50 North Tenant LLC                                NY
475 Sansome St Tenant LLC                                   NY
483 Broadway Tenant LLC                                     NY
49 West 27th Street HQ LLC                                  NY
490 Broadway Tenant LLC                                     NY
50 W 28th Street Tenant LLC                                 NY
500 11th Ave North Tenant LLC                               NY
500 7th Avenue Tenant LLC                                   NY
501 Boylston Street Tenant LLC                              NY
501 East Kennedy Boulevard Tenant LLC                       NY
501 East Las Olas Blvd Tenant LLC                           NY
501 Eastlake Tenant LLC                                     NY
5049 Edwards Ranch Tenant LLC                               NY
505 Main Street Tenant LLC                                  NY
505 Park Avenue Q LLC                                       NY
50-60 Francisco Street Tenant LLC                           NY
511 W 25th Street Tenant LLC                                NY
515 Folsom Street Tenant LLC                                NY
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515 N State Street Tenant LLC                               NY
5161 Lankershim Boulevard Tenant LLC                        NY
5215 North O'Connor Boulevard Tenant LLC                    NY
524 Broadway Tenant LLC                                     NY
525 Broadway Tenant LLC                                     NY
53 Beach Street Tenant LLC                                  NY
540 Broadway Q LLC                                          NY
545 Boylston Street Q LLC                                   NY
546 5th Avenue Tenant LLC                                   NY
550 7th Avenue HQ LLC                                       NY
550 Kearny Street HQ LLC                                    NY
57 E 11th Street Tenant LLC                                 NY
575 5th Avenue Tenant LLC                                   NY
575 Lexington Avenue Tenant LLC                             NY
5750 Wilshire Boulevard Tenant LLC                          NY
5960 Berkshire Lane Tenant LLC                              NY
599 Broadway Tenant LLC                                     NY
6 East 32nd Street WW Q LLC                                 NY
600 B Street Tenant LLC                                     NY
600 California Street Tenant LLC                            NY
600 H Apollo Tenant LLC                                     NY
6001 Cass Avenue Tenant LLC                                 NY
601 South Figueroa Street Tenant LLC                        NY
606 Broadway Tenant LLC                                     NY
609 5th Avenue Tenant LLC                                   NY
609 Greenwich Street Tenant LLC                             NY
609 Main Street Tenant LLC                                  NY
611 North Brand Boulevard Tenant LLC                        NY
615 S. Tenant LLC                                           NY
625 Massachusetts Tenant LLC                                NY
625 West Adams Street Tenant LLC                            NY
63 Madison Avenue Tenant LLC                                NY
65 East State Street Tenant LLC                             NY
650 California Street Tenant LLC                            NY
6543 South Las Vegas Boulevard Tenant
LLC                                                         NY
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               Subsidiary                               Jurisdiction
655 15th Street NW Tenant LLC                               NY
655 Montgomery St Tenant LLC                                NY
655 New York Avenue Northwest Tenant
LLC                                                         NY
660 J Street Tenant LLC                                     NY
660 North Capitol St NW Tenant LLC                          NY
6655 Town Square Tenant LLC                                 NY
67 Irving Place Tenant LLC                                  NY
6900 North Dallas Parkway Tenant LLC                        NY
695 Town Center Drive Tenant LLC                            NY
7 West 18th Street Tenant LLC                               NY
700 K Street NW Tenant LLC                                  NY
700 North Miami Tenant LLC                                  NY
700 SW 5th Tenant LLC                                       NY
708 Main St Tenant LLC                                      NY
71 5th Avenue Tenant LLC                                    NY
71 Stevenson Street Q LLC                                   NY
711 Atlantic Avenue Tenant LLC                              NY
725 Ponce De Leon Ave NE Tenant LLC                         NY
7272 Wisconsin Avenue Tenant LLC                            NY
729 Washington Ave Tenant LLC                               NY
7300 Dallas Parkway Tenant LLC                              NY
731 Sansome Street Tenant LLC                               NY
75 Arlington Street Tenant LLC                              NY
75 E Santa Clara Street Tenant LLC                          NY
75 Rock Plz Tenant LLC                                      NY
750 Lexington Avenue Tenant LLC                             NY
750 White Plains Road Tenant LLC                            NY
755 Sansome Street Tenant LLC                               NY
756 W Peachtree Tenant LLC                                  NY
77 Sands Tenant LLC                                         NY
77 Sands WW Corporate Tenant LLC                            NY
77 Sleeper Street Tenant LLC                                NY
7761 Greenhouse Rd Tenant LLC                               NY
777 6th Street NW Tenant LLC                                NY
78 SW 7th Street Tenant LLC                                 NY
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                Subsidiary                               Jurisdiction
8 W 40th Street Tenant LLC                                   NY
800 Bellevue Way Tenant LLC                                  NY
800 Market Street Tenant LLC                                 NY
800 North High Street Tenant LLC                             NY
801 B. Springs Road Tenant LLC                               NY
808 Wilshire Boulevard Tenant LLC                            NY
820 18th Ave South Tenant LLC                                NY
821 17th Street Tenant LLC                                   NY
83 Maiden Lane Q LLC                                         NY
830 Brickell Plaza Tenant LLC                                NY
830 NE Holladay Street Tenant LLC                            NY
8305 Sunset Boulevard HQ LLC                                 NY
8687 Melrose Avenue Tenant LLC                               NY
8687 Melrose Green Tenant LLC                                NY
88 U Place Tenant LLC                                        NY
880 3rd Ave Tenant LLC                                       NY
881 Peachtree Street Northeast Tenant LLC                    NY
8910 University Center Lane Tenant LLC                       NY
90 South 400 West Tenant LLC                                 NY
901 North Glebe Road Tenant LLC                              NY
901 Woodland St Tenant LLC                                   NY
902 Broadway Tenant LLC                                      NY
920 5th Ave Tenant LLC                                       NY
920 SW 6th Avenue Tenant LLC                                 NY
9200 Timpanogos Highway Tenant LLC                           NY
925 4th Avenue Tenant LLC                                    NY
925 N La Brea Ave Tenant LLC                                 NY
9777 Wilshire Boulevard Q LLC                                NY
980 6th Avenue Tenant LLC                                    NY
9830 Wilshire Boulevard Tenant LLC                           NY
99 Chauncy Street Q LLC                                      NY
99 High Street Tenant LLC                                    NY
Bird Investco LLC                                            DE
Cities by We LLC                                             DE
Clubhouse TS LLC                                             NY
Common Desk Holdings LLC                                     NY
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               Subsidiary                               Jurisdiction
Common Desk Daymaker LLC                                    NY
Common Desk Operations LLC                                  DE
Creator Fund Managing Member LLC                            DE
Euclid LLC                                                  DE
FieldLens LLC                                               NY
Five Hundred Fifth Avenue HQ LLC                            NY
Legacy Tenant LLC                                           NY
Mailroom Bar at 110 Wall LLC                                NY
One Gotham Center Tenant LLC                                NY
One Metropolitan Square Tenant LLC                          NY
Parkmerced Partner LLC                                      DE
Play by WeWork LLC                                          DE
Powered By We LLC                                           NY
Project Caesar LLC                                          DE
Project Standby I LLC                                       NY
Prolific Interactive LLC                                    NY
PxWe Facility & Asset Management Services
LLC                                                         DE
South Tryon Street Tenant LLC                               NY
Spacious Technologies, LLC                                  DE
The Hub Tenant LLC                                          NY
Waltz Merger Sub LLC                                        DE
We Rise Shell LLC                                           NY
We Work 154 Grand LLC                                       NY
We Work 349 5th Ave LLC                                     NY
We Work Management LLC                                      NY
We Work Retail LLC                                          NY
WeInsure Holdco LLC                                         DE
Welkio LLC                                                  NY
WeWork Asset Management LLC                                 NY
WeWork Commons LLC                                          NY
WeWork Construction LLC                                     NY
WeWork Holdings LLC                                         NY
WeWork Interco LLC                                          NY
WeWork Labs Entity LLC                                      DE
WeWork Little West 12th LLC                                 DE
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              Subsidiary                               Jurisdiction
WeWork Magazine LLC                                        NY
WeWork Real Estate LLC                                     NY
WeWork Services LLC                                        DE
WeWork Space Services LLC                                  DE
WeWork Workplace LLC                                       DE
Wildgoose I LLC                                            NY
WW 11 John LLC                                             NY
WW 110 Wall LLC                                            NY
WW 111 West Illinois LLC                                   NY
WW 115 W 18th Street LLC                                   NY
WW 1161 Mission LLC                                        NY
WW 120 E 23rd Street LLC                                   NY
WW 1328 Florida Avenue LLC                                 NY
WW 1550 Wewatta Street LLC                                 NY
WW 1601 Fifth Avenue LLC                                   NY
WW 1875 Connecticut LLC                                    NY
WW 2015 Shattuck LLC                                       NY
WW 205 E 42nd Street LLC                                   NY
WW 210 N Green LLC                                         NY
WW 220 NW Eighth Avenue LLC                                NY
WW 222 Broadway LLC                                        NY
WW 2221 South Clark LLC                                    NY
WW 240 Bedford LLC                                         NY
WW 25 Broadway LLC                                         NY
WW 26 JS Member LLC                                        NY
WW 312 Arizona LLC                                         NY
WW 350 Lincoln LLC                                         NY
WW 379 W Broadway LLC                                      NY
WW 401 Park Avenue South LLC                               NY
WW 5 W 125th Street LLC                                    NY
WW 500 Yale LLC                                            NY
WW 51 Melcher LLC                                          DE
WW 520 Broadway LLC                                        NY
WW 535 Mission LLC                                         NY
WW 555 West 5th Street LLC                                 NY
WW 5782 Jefferson LLC                                      NY
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               Subsidiary                               Jurisdiction
WW 600 Congress LLC                                         NY
WW 641 S Street LLC                                         NY
WW 718 7th Street LLC                                       NY
WW 81 Prospect LLC                                          NY
WW 811 West 7th Street LLC                                  NY
WW 85 Broad LLC                                             NY
WW 995 Market LLC                                           NY
WW Brooklyn Navy Yard LLC                                   NY
WW BuildCo LLC                                              NY
WW Enlightened Hospitality Investor LLC                     NY
WW Journal Square Holdings LLC                              NY
WW Journal Square Member LLC                                NY
WW Onsite Services LLC                                      NY
WW Project Swift Development LLC                            DE
WW VendorCo LLC                                             NY
WWCO Architecture Holdings LLC                              DE
80 M Street SE Tenant LLC                                   NY
WeWork 156 2nd LLC                                          DE
WeWork 175 Varick LLC                                       DE
WeWork 25 Taylor LLC                                        DE
WeWork 261 Madison LLC                                      NY
WeWork 54 West 40th LLC                                     NY
WeWork LA LLC                                               DE
WW 1010 Hancock LLC                                         NY
WW 107 Spring Street LLC                                    NY
WW 745 Atlantic LLC                                         DE
WW 79 Madison LLC                                           NY
WeWork Wellness LLC                                         NY
CD Locations, LLC                                           DE
Common Coffee LLC                                           TX
Common Desk DE, LLC                                         TX
Common Desk OC, LLC                                         TX
Common Desk West 7th, LLC                                   TX
WeWork Bryant Park LLC                                      NY
WW Onsite Services AAG LLC                                  NY
WW Onsite Services EXP LLC                                  NY
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                 Subsidiary                              Jurisdiction
WW Onsite Services SFI LLC                                   NY
WW Onsite Services SUM LLC                                   NY
Insurance Services by WeWork LLC                             NY

                                    Schedule 7
                 Board of Directors: Brianna Iverson, Mike DePinho
             Subsidiary                                  Jurisdiction
9670416 CANADA Inc.                                        Canada
WeWork Canada GP ULC                                       Canada
WeWork Canada LP ULC                                       Canada

                                    Schedule 8
                     General Partner: WeWork Canada GP ULC

                 Subsidiary                              Jurisdiction
700 2 Street Southwest Tenant LP                           Canada
4635 Lougheed Highway Tenant LP                            Canada
1090 West Pender Street Tenant LP                          Canada

                                    Schedule 9
                 General Partner: WeWork Companies Partner LLC
                  Limited Partner: WeWork Companies U.S. LLC

             Subsidiary                                  Jurisdiction
WW Worldwide C.V.                                        Netherlands
